Case 6:13-cr-00002-RWS-KNM          Document 233        Filed 09/10/13     Page 1 of 2 PageID #:
                                           664



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 UNITED STATES OF AMERICA                       §

 Vs.                                            §          CRIM. ACTION NO. 6:13CR2(7)

 JEFFREY RAINEY, aka “Pee Wee”                  §



                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE


        This Report and Recommendation       is submitted to the Court pursuant to 28 U.S.C. §

 636(b)(3).   This case has been referred by the Honorable Michael H. Schneider to the

 undersigned Magistrate Judge for the taking of a felony guilty plea. The parties have consented

 to the administration of guilty plea and Fed.R.Crim.P. 11 allocution by a United States

 Magistrate Judge.

        On September 10, 2013, Defendant and counsel appeared before the undersigned, who

 addressed Defendant personally in open court and informed Defendant of, and determined that

 Defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

 Procedure. Pursuant to a plea bargain agreement with the Government, Defendant pled guilty to

 a lesser included charge of Count 1 of the Indictment. After conducting the proceeding in the

 form and manner prescribed by Fed.R.Crim.P. 11, the undersigned finds:

        1. Defendant, with the advice of his attorney, has consented orally and in writing to
           enter his guilty plea before a Magistrate Judge subject to final approval and
           sentencing by the presiding District Judge;

        2. Defendant fully understands the nature of the charges and penalties;

        3. Defendant fully understands the terms of the plea agreement;


                                                1
Case 6:13-cr-00002-RWS-KNM              Document 233        Filed 09/10/13    Page 2 of 2 PageID #:
                                               665



           4. Defendant understands his constitutional and statutory rights and wishes to waive
              these rights, including the right to a trial by jury and the right to appear before a
              United States District Judge to enter this plea of guilty;

           5. Defendant’s plea is made freely and voluntarily;

           6. Defendant is competent to enter this plea of guilty;

           7. There is a factual basis for this plea; and

           8. The ends of justice will be served by acceptance of Defendant’s plea of guilty.

                                            Recommendation

           It is therefore RECOMMENDED that the District Judge accept the plea of guilty and

 enter a final judgment of guilty against Defendant. It is further RECOMMENDED that the plea

 agreement be approved conditioned upon a review of the presentence report.

           Before the conclusion of the hearing, the undersigned announced the foregoing

 recommendation and notified Defendant of his right to object to this Report and

 Recommendation. Defendant waived that right in open court. The Government also waived its

 right to object to the Report and Recommendation. It is, therefore, recommended that the Court

 enter an order accepting the plea of guilty, approving the plea agreement and finding Defendant

 guilty.

             So ORDERED and SIGNED this 10th day of September, 2013.




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